          Case 4:21-cv-00783-LPR Document 4 Filed 12/07/21 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 CENTRAL DIVISION

CHRISTOPHER FAUCETTE                                                                  PLAINTIFF

V.                               NO. 4:21-cv-00783-LPR-ERE

TISH JHONSON, et al.                                                             DEFENDANTS

                                             ORDER

       The Court has received a Recommendation from Magistrate Judge Edie R. Ervin. No

objections have been filed, and the time to do so has passed. After a careful and de novo review

of the Recommendation and the record in this case, the Court concludes that the Recommendation

should be, and hereby is, approved and adopted as this Court’s findings in its entirety.

       Mr. Faucette’s claims are DISMISSED without prejudice. Pursuant to 28 U.S.C. §

1915(a)(3), the Court certifies that an in forma pauperis appeal of this Order or the accompanying

Judgment would not be taken in good faith.

       IT IS SO ORDERED this 7th day of December 2021.




                                                     ________________________________
                                                     LEE P. RUDOFKSY
                                                     UNITED STATES DISTRICT JUDGE
